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                    IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

  Steubenville City School District          :       Case No. 2:22-CV-2484
  Board of Education
  611 N. 4th Street                           :      Judge
  Steubenville, OH 43952,
                                              :
                Plaintiff,
                                              :
         v.
                                             :
  MICHELLE K. MCGUIRE                                COMPLAINT FOR RECOVERY
  24459 Wilderness Trail                     :       OF COSTS, INCLUDING
  Olmsted Falls, OH 44138                            ATTORNEYS’ FEES,
                                             :       PURSUANT TO THE
  CARLA L. LEADER                                    INDIVIDUALS WITH
  8717 Tiburon Drive                         :       DISABILITIES EDUCATION
  Cincinnati, OH 45249                               ACT (IDEA)
                                             :
  CATHERINE M. MICHAEL
  c/o Connell Michael Kerr, LLP              :
  550 Congressional Blvd., Suite 115
  Carmel, IN 46032                           :

  CONNELL MICHAEL KERR, LLP                  :
  550 Congressional Blvd., Suite 115
  Carmel, IN 46032                           :

                                             :
  ASHLEY COOPER
  720 North 7th Street, Apt. C7              :
  Steubenville, OH 43952,
                                             :

                Defendants.                  :


                                       COMPLAINT

     1. This is an action for costs, including attorneys’ fees, incurred by Plaintiff

  Steubenville City School District Board of Education (the “District” or “Board”) in

  defending an administrative proceeding under the Individuals with Disabilities Education


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  Act, 20 U.S.C. § 1400 et seq. (“IDEA”), which was initiated and continued to be litigated

  by Defendants even though frivolous, unreasonable, and/or without foundation and/or for

  an improper purpose.

                               JURISDICTION AND VENUE

     2. This Court has original jurisdiction over this matter pursuant to IDEA’s fee shifting

  provision, 20 U.S.C. § 1415(i)(3)(B)(i)(II) and (III), and pursuant to 28 U.S.C. § 1331.

     3. Venue is proper in the Southern District of Ohio, Eastern Division because one or

  more of the Defendants resides in this judicial district and because a substantial part of the

  events or omissions giving rise to the Board’s claim occurred within this judicial district.

                                           PARTIES

     4. The Board is a political subdivision capable of suing and being sued under Ohio

  law. The Board is a local educational agency (“LEA”) under IDEA.

     5. Defendant Michelle K. McGuire is an attorney licensed to practice in the State of

  Ohio, who represented Defendant Ashley Cooper and J.C., who is a minor child currently

  residing within the Steubenville City School District and who has been identified as a

  student eligible to receive special education and related services, in an administrative

  special education due process proceeding conducted pursuant to IDEA.

     6. Defendant Carla L. Leader is an attorney licensed to practice in the State of Ohio,

  who also represented Defendant Cooper and J.C. in an administrative special education

  due process proceeding conducted pursuant to IDEA.

     7. Defendant Catherine M. Michael is an attorney licensed to practice in the State of

  Indiana. On March 21, 2022, Defendant Michael’s Motion for Permission to Appear Pro

  Hac Vice in the administrative due process proceeding was granted. Defendant Michael




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  then represented Defendant Cooper and J.C. in the administrative special education due

  process proceeding conducted pursuant to IDEA.

     8. Defendant Connell Michael Kerr, LLP (“CMK”) is a law firm located at 550

  Congressional Blvd., Suite 115, Carmel, IN 46032.          Defendant Michael is the Co-

  Managing Partner of CMK. Defendants McGuire and Leader are Of Counsel with CMK.

     9. Defendant Ashley Cooper (“Parent”) resides at 720 North 7th Street, Apt. C7, in

  Steubenville, Ohio, which is located within the Steubenville City School District. She is

  the mother and natural guardian of J.C.

                                    APPLICABLE LAW

     10. The IDEA, 20 U.S.C. § 1415(i)(3)(B)(i)(II), provides that a Court, in its discretion,

  may award reasonable attorneys’ fees as part of costs to a prevailing party who is an LEA

  against the attorney of a parent who files a complaint or subsequent cause of action that is

  frivolous, unreasonable, or without foundation.

     11. The IDEA, 20 U.S.C. § 1415(i)(3)(B)(i)(II), further provides that a Court, in its

  discretion, may award reasonable attorneys’ fees as part of costs to a prevailing party who

  is an LEA against the attorney of a parent who continued to litigate after the litigation

  clearly became frivolous, unreasonable, or without foundation.

     12. The IDEA, 20 U.S.C. § 1415(i)(3)(B)(i)(III), further provides that a Court, in its

  discretion, may award reasonable attorneys’ fees as part of costs to a prevailing party who

  is an LEA against the attorney of a parent, or against a parent, if the parent’s complaint or

  subsequent cause of action was presented for any improper purpose, such as to harass, to

  cause unnecessary delay, or to needlessly increase the cost of litigation.




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                                FACTUAL ALLEGATIONS

     13. J.C., whose date of birth is September 7, 2010, is a child with a disability who has

  been diagnosed with Autism, among other conditions. He is eligible for special education

  and related services under the IDEA.

     14. Beginning in or around April 2018, J.C. enrolled in the Edison Local School

  District (“Edison”).

     15. During the 2018-19 and 2019-20 school years, while remaining enrolled at Edison,

  J.C. attended School of Bright Promise, which is a separate school operated by the

  Jefferson County Board of Developmental Disabilities (“JCBDD”).

     16. J.C.’s annual Individualized Education Program (“IEP”), dated April 3, 2020,

  described his Least Restrictive Environment (“LRE”) as a separate facility.

     17. The Ohio Department of Education operates the Education Management

  Information System (“EMIS”) to collect data on a statewide basis for Ohio’s primary and

  secondary education, including special education information. The information school

  districts input into EMIS is important because it helps to determine the district’s level of

  funding.

     18. Edison coded J.C.’s LRE on the April 3, 2020 IEP as IE16, which is a public

  separate facility (i.e., School of Bright Promise).

     19. J.C. began residing at a facility in Akron, Ohio called 2nd Home through the efforts

  of JCBDD in or around July 2020 because J.C.’s family was experiencing difficulty caring

  for him at home, particularly after the COVID-19 school shut-down that began in March

  2020.




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     20. This residential placement was not requested or sought by Edison, and the

  placement was not made for educational purposes.

     21. 2nd Home is located approximately one and half hours away from Edison. Thus,

  J.C. was unable to continue attending School of Bright Promise during the 2020-21 school

  year. In the Fall of 2020, J.C. purportedly began receiving his education at a facility in

  Akron, Ohio called Out of the Box (“OOTB”), which was run by Dr. Elizabeth Grafious.

  J.C. was transported between 2nd Home to OOTB for his educational services.

     22. In the Fall of 2020, Edison amended the LRE statement in J.C.’s IEP to note, “[J.C.]

  will be placed in a residential facility, Out of the Box.” This was not intended to be a

  residential placement as that term is used to describe an LRE. Indeed, J.C. was not residing

  at OOTB at that time and OOTB is not a residential facility. Further, Edison did not change

  the EMIS code to IE18 or IE19, which are public residential facility and private residential

  facility, respectively. Rather, it was changed to IE17, which is a separate private school.

     23. In the Spring of 2021, Edison agreed to waive J.C.’s triennial re-evaluation under

  IDEA based on a review of IEP progress reports and grade cards from OOTB as well as

  statewide and district assessments and other education records.

     24. On or about April 1, 2021, Edison prepared J.C.’s annual IEP, which repeated J.C.’s

  “placement in the residential facility OOTB.” This again was not intended to be a

  residential placement as that term is used to describe an LRE. Indeed, J.C. was not residing

  at OOTB at that time, OOTB is not a residential facility, and Edison again coded J.C.’s

  LRE on the April 1, 2021 IEP as IE17, which is a separate private school, not a residential

  placement.




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      25. On or about May 1, 2021, J.C. became the first and only student to begin living at

  OOTB in addition to purportedly receiving his education there.

      26. This change in where J.C. was living was not requested or sought by Edison, and

  the change was not made for educational purposes. Indeed, the change was not even

  communicated to Edison.

      27. Neither Edison nor any other school district ever determined that J.C.’s LRE was

  residential. Rather, Edison always intended J.C.’s LRE to be a separate facility.

      28. In or around June 2021, Parent moved into the Steubenville City School District.

  Around that time, Sarah Elliott, the District’s Director of Special Education, learned from

  her counterpart at Edison that J.C. resided at 2nd Home and received his education at

  OOTB.

      29. On or about September 13, 2021, Parent, through an intermediary at JCBDD,

  provided a completed enrollment packet with proof of Parent’s residence within the District

  to the District.

      30. The District then immediately requested J.C.’s records from Edison.

      31. In response to the request, Edison provided the District with very limited

  information that included an IEP, an Evaluation Team Report (“ETR”) from 2018 and a

  form indicating that Edison had waived a triennial reevaluation of J.C. in March 2021.

  Edison did not provide any data such as progress reporting or attendance records.

      32. Based upon a review of the IEP that Edison had provided, and communications

  with Edison, the District correctly understood J.C.’s LRE was not residential; rather, that

  the LRE was a separate facility.




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     33. On September 16, 2021 the District proposed to adopt Edison’s waiver of the

  reevaluation because the District anticipated receiving additional documentation regarding

  J.C.’s education.

     34. By that time, the District had received a service agreement from OOTB. The

  service agreement did not detail the programming that would be provided to J.C., nor did

  it describe any services he would receive or identify who would be providing any

  services. The contract price was $120,000 for nine months, which was almost double what

  OOTB had charged Edison for the prior year for twelve months of service. In addition, the

  OOTB agreement presented to the District called for an additional $18,000 to be paid for

  transportation, even though J.C. was both living and going to school at the same place.

     35. Sarah Elliott, the District’s Director of Special Education, and Angelita Forte, a

  parent mentor with the District, visited OOTB at 11:00 a.m. on or about September 30,

  2021. They were able to briefly see J.C., who looked as if he had just woken up. He was

  not wearing socks or shoes and his hair was disheveled. Ms. Elliott and Ms. Forte requested

  information about the staff members who were working with J.C., including their level of

  education and whether they held any certifications. They received conflicting information

  from OOTB staff at the meeting, with Dr. Grafious ultimately telling Ms. Elliott and Ms.

  Forte to look up that information themselves. Dr. Grafious abruptly ended the meeting

  without providing Ms. Elliott and Ms. Forte with a tour of the facility so that they could

  see J.C.’s educational environment. Ms. Elliott and Ms. Forte were given a few pieces of

  paper to take with them.

     36. On October 11, 2021, OOTB advised the District that the contract price was going

  up from $120,000 to $140,000. When the District again requested information about who




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  would be serving as J.C.’s teachers and paraprofessional, OOTB stated that information

  would be provided only after the District signed the contract. During that conversation and

  by e-mails sent the following day and again on October 25, 2021, the District requested

  J.C.’s progress reports, evaluations, information about staff members, and J.C.’s schedule.

  Neither Parent nor OOTB provided this information. OOTB also never permitted District

  Superintendent Melinda Young to tour the facility despite her multiple requests to do so.

     37. The inability to obtain information from OOTB was a hindrance to the District’s

  ability to serve J.C. Without information as to how J.C. had progressed during the 2020-

  21 school year at OOTB, without the ability to tour the educational environment at OOTB,

  and without the information that the District needed about J.C., it was difficult to determine

  what changes would be necessary to J.C.’s IEP.

     38. In mid-October 2021, Parent agreed to enroll J.C. in Akron City Schools, which

  was possible because that is the school district in which OOTB is located, so that Akron

  City Schools could educate J.C. while he lived at OOTB. Parent was scheduled to meet

  with Ms. Forte to complete the online enrollment packet, but she canceled the meeting.

  Parent then failed to return Ms. Forte’s follow-up calls. This was around the time Parent

  retained counsel.

     39. On October 28, 2021, counsel for the District wrote to Defendant McGuire via e-

  mail outlining the District’s concerns regarding OOTB and explaining why the District had

  not signed the service agreement with OOTB. Specifically, counsel for the District noted

  in the e-mail that J.C.’s placement at OOTB was done unilaterally by the Parent. Counsel

  for the District also noted that the District had not received any educational records for J.C.




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  for the 2020-21 school year and that the District had little success in communicating with

  Parent.

     40. On November 2, 2021, counsel for the District again wrote to Defendant McGuire

  via e-mail. In this correspondence, counsel for the District advised that the District wanted

  to revise J.C.’s IEP, but that there had been no cooperation from OOTB. Counsel for the

  District again explained why the District had not signed the OOTB contract.

     41. The District held an IEP team meeting on November 10, 2021. Neither Parent nor

  her attorneys attended.

     42. By November 18, 2021, Parent refused to accept certified mail communication

  from the District. The District began sliding communications under Parent’s door in

  addition to sending them by regular U.S. mail.

     43. In late November or early December 2021, Dr. Grafious of OOTB gave Defendant

  McGuire the information the District had been requesting. Defendant McGuire did not

  immediately share it with the District.

     44. By late November 2021, Defendant McGuire also had J.C.’s records from Edison

  and did not share them with the District.

     45. On or about November 22, 2021, counsel for the District advised Defendant

  McGuire that the District wanted to visit OOTB to see J.C. and discuss, in person, with

  OOTB staff, the best path forward for J.C. The week of November 29, 2021 was offered

  for this visit. This District’s need to visit OOTB was reiterated to Defendant McGuire but

  neither she nor any other Defendant ever arranged for the District to visit OOTB.

     46. By early December 2021, while neither Parent nor her attorneys were willing to

  share necessary information about J.C. with the District, the District continued to request




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   data related to J.C.’s present levels of performance and raised consideration of a re-

   evaluation.

      47. On or about December 2, 2021, Defendant McGuire admitted that Defendants’

   request for a residential placement was based more on Parent’s needs and not what is

   required for J.C. Defendant McGuire also agreed to provide the certification and licensure

   of all staff members who would be providing educational services to J.C. at OOTB, as well

   as a breakdown of the OOTB charges. This information was not provided.

      48. Instead of engaging in a dialogue about a re-evaluation or providing the promised

   information, on December 6, 2022, Defendant McGuire produced to counsel for the

   District a few other records. Specifically, speech and behavior evaluations that had been

   completed for J.C. in June 2021 at a facility called KidsLink were provided, along with an

   assessment that was completed in September 2021, the results of state testing in Language

   Arts and Math that had been done in March 2021, an educational quarterly report for

   2020/2021, a first quarter report, and charts purporting to summarize behavioral data from

   August 13, 2021 to September 13, 2021. The data did not align to the data the District had

   previously received.

      49. Parent was aware of the June 2021 KidsLink evaluations in the summer of 2021

   and never disclosed them to the District. Upon information and belief, Defendants

   McGuire and Leader became aware of the June 2021 KidsLink evaluations long before

   December 2021 but did not promptly disclose or provide them to the District.

      50. Counsel for the District immediately requested signed authorizations allowing the

   District to obtain J.C.’s records directly from OOTB and KidsLink.




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       51. The parties had planned to mediate on December 9, 2021, but on December 7, 2021,

   Defendant McGuire canceled the mediation.

       52. On December 17, 2021, when the District still had not been provided with pertinent

   information about J.C., the District formally proposed to re-evaluate J.C. in order to gather

   information that would assist the parties in determining his educational needs.

       53. Instead of consenting to a re-evaluation, on December 20, 2021, Defendants

   McGuire and Leader signed a due process complaint (the “Complaint”) on behalf of Parent

   and J.C. The Complaint falsely states School of Bright Promise was no longer able to meet

   J.C.’s needs during the 2019-20 school and that a more intensive program was sought.

       54. The Complaint falsely states that Edison had determined J.C.’s LRE to be

   residential.

       55. The Complaint falsely states the District sought to change J.C.’s LRE from being a

   residential placement.

       56. The Complaint states, “The major issue for hearing is whether [the District] failed

   to provide FAPE by refusing to consider student’s least restrictive environment, not

   crafting an appropriate IEP that meets all legally mandated requirements, resulting in a

   denial of FAPE, significantly impeding the student’s and the Parent’s opportunity to

   participate in the decision-making process and/or causing a deprivation of educational

   benefits.”

       57. The Ohio Department of Education (“ODE”) appointed Todd A. Mazzola, Esq. to

   serve as the Impartial Hearing Officer (“IHO”).

       58. On January 3, 2022, counsel for the District again asked Defendants McGuire and

   Leader to have Parent sign authorizations allowing the District to obtain records from J.C.’s




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   medical providers and the educational institutions he had previously attended, including

   OOTB and KidsLink.

      59. A resolution meeting was held on January 4, 2022. It was attended by Parent and

   Defendants McGuire and Leader. At the resolution meeting, counsel for the District again

   requested signed authorizations so that the District could obtain an accurate and true picture

   of J.C.’s needs.

      60. At the January 4, 2022 resolution meeting, the District also again stated it wanted

   to conduct a re-evaluation. The District explained it had no history with J.C.

      61. On January 7, 2022, the District again formally proposed conducting a re-

   evaluation and invited Parent to an evaluation planning meeting on January 11, 2022.

      62. Also on January 7, 2022, the District again requested that the authorizations that

   had been sent previously be signed.

      63. On January 10, 2022, Defendant McGuire stated Parent did not agree to an

   evaluation and that there would be no planning meeting. Defendant McGuire also stated

   Parent would not be signing authorizations.

      64. On January 21, 2022, counsel for the District advised Defendants McGuire and

   Leader that the District intended to utilize the consent override procedures outlined in the

   IDEA (i.e., filing a due process complaint) in order to conduct a re-evaluation.

      65. On January 24, 2022, because Defendants failed to provide signed authorizations,

   the District asked the IHO to execute Subpoenas allowing the District to obtain records

   from J.C.’s medical providers and from educational institutions that had served him in the

   past, including OOTB and KidsLink. Defendants moved to quash every single Subpoena.

   Defendants then attempted to prevent the District from fully briefing the Motion to Quash




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   by moving to strike attachments to the District’s opposition brief. The IHO issued various

   Subpoenas.

      66. In response to a Subpoena, KidsLink provided two new reports of evaluations that

   had been done in February 2022, unbeknownst to the District, and despite Defendants’

   refusal to consent to an evaluation being conducted by the District. Upon information and

   belief, Parent and Defendants McGuire, Leader, and Michael were aware of the February

   2022 KidsLink evaluations and failed to disclose them to the District.

      67. OOTB produced thousands of pages of documents in response to a Subpoena.

   Upon information and belief, these documents were provided to and/or were available to

   Defendants without this or any other Subpoena.

      68. On January 27, 2022, counsel for the District sent an e-mail to Defendants McGuire

   and Leader attempting to schedule a resolution meeting prior to the District filing a due

   process complaint on the re-evaluation issue. Defendants declined to attend.

      69. On February 28, 2022, the District filed a due process complaint in an attempt to

   obtain an order requiring a re-evaluation.

      70. The District asked Parent to sign an authorization allowing it to share information

   with Education Alternatives (“EA”), a program the District was considering for J.C.’s

   educational placement. Defendants never returned the signed authorization and then

   objected to the District calling witnesses from EA to testify at the hearing on Parent’s

   Complaint because the EA representatives had never been involved with J.C. and because

   they had not reviewed any of J.C.’s records.

      71. On March 15, 2022, one week before the hearing on Parent’s Complaint began,

   Defendants produced an expert report and new data.




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      72. The IHO presided over a seven-day hearing on the Parent’s Complaint on March

   28-31, 2022 and April 1, 4, and 5, 2022.

      73. The primary issue at the hearing was J.C.’s LRE.

      74. Defendants aggressively sought a determination that J.C.’s LRE is residential and

   not a separate public or private school, while the District’s position was that something less

   restrictive than residential placement was appropriate.

      75. Out of approximately 20 witnesses who testified at the hearing, not a single one

   testified J.C.’s LRE had ever been declared by an educational institution to be residential

   before Parent moved into the District.

      76. To the contrary, Edison Superintendent Bill Beattie testified Edison never looked

   for a residential placement as J.C.’s LRE.

      77. Even Dr. Grafious testified at the hearing that she never expected that J.C. would

   live at OOTB and that there had never been a plan for such prior to J.C. coming to live

   there on or about May 1, 2021 following an incident at 2nd Home.

      78. Despite the testimony at the hearing, Defendants continued to represent that J.C.’s

   prior IEP required a residential placement in their post-hearing brief.

      79. At the hearing, Dr. Grafious testified she was trying to find a neurologist to see J.C.

   and that she would like to get J.C. into a Rotary camp in her area for the summer of 2022,

   implying she intended to continue to work with J.C.

      80. However, at the time Dr. Grafious testified, a dispute between Dr. Grafious and

   JCBDD was brewing regarding payment that could end J.C.’s time at OOTB, both in terms

   of his residence and his education.




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      81. Plaintiff was not aware of the issue between Dr. Grafious and JCBDD at the time

   Dr. Grafious testified at the hearing.

      82. Upon belief, Defendants were aware of the dispute between Dr. Grafious and

   JCBDD at the time Dr. Grafious testified at the hearing and concealed this information

   from Plaintiff and the IHO in a bid to obtain an order that the District was responsible for

   paying for a residential placement that Defendants hoped would be OOTB.

      83. Within days of Dr. Grafious’s hearing testimony, she dropped J.C. off at Parent’s

   house in Steubenville. Only then did Parent finally consent to a re-evaluation.

      84. Once he was returned to Steubenville, J.C. initially attended School of Bright

   Promise. With Parent’s consent, he then began attending a school within and operated by

   the District. J.C. remains in this placement, where he has made progress, by Parent’s own

   admission.

      85. Parent has since stated the behavior data put forth by Defendants at the due process

   hearing was probably made up.

      86. On May 15, 2022, the IHO issued a Final Decision and Order in which he found in

   favor of the Board on the primary issue at the hearing. Specifically, the IHO determined

   J.C.’s LRE was not a residential placement; rather, it was a separate public or private

   school.

      87. The IHO also found the Board did not violate the law in terms of its child find

   obligations and in terms of predetermination of J.C.’s IEP or placement decision.

      88. The IHO also ordered J.C. be re-evaluated, which the Board had been seeking to

   do for months at that point.




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      89. While the IHO found the District had failed to provide comparable services

   pursuant to a transfer IEP, failed to develop an IEP for J.C. that offered FAPE, and failed

   to ensure parental participation in an IEP meeting, the IHO awarded no tuition

   reimbursement, compensatory education, or other relief whatsoever to Parent. In fact, the

   IHO stated in his Final Decision and Order, “In the end, I can’t help but believe that we

   have arrived at roughly the same place that [the District] would have landed some time in

   the fall of 2021 had OOTB and [Parent] fully cooperated with [the District] – except,

   perhaps, that J.C. would have spent the bulk of the 2021-2022 school year in an educational

   placement other than OOTB that would have been funded by [the District].”

      90. Defendants have represented they intend to appeal the IHO’s decision and

   Defendants McGuire and Leader on behalf of Parent have already filed a lawsuit in this

   Court seeking not only a determination that Parent is the prevailing party entitled to

   attorneys’ fees, but asserting new claims under section 504 of the Rehabilitation Act of

   1973, 29 U.S.C. §794, and Title II of the Americans with Disabilities Act, 42 U.S.C. §

   12131. See, Case No. 2:22-cv-02430. Parent’s 504 claim is based on alleged retaliation,

   but she has told the District she knows they did not retaliate against her.

      91. Jessica Dawso, co-counsel for the Board, has been a licensed member of the Ohio

   bar since 2007 and has over 10 years of experience in the practice of education law. Her

   hourly rate is $275.00 and she spent 318 hours defending Parent’s Complaint through May

   31, 2022.

      92. Sandra McIntosh, co-counsel for the Board, has been a licensed member of the

   Ohio bar since 2004 and has approximately 15 years of experience in the practice of




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   education law. Her hourly rate is $275.00 and she spent 408.9 hours defending Parent’s

   Complaint through May 31, 2022.

      93. The District also incurred $7,718.92 in expenses for legal research,

   copying/preparing hearing exhibits and in travel costs related to attending the hearing.

      94. In addition to incurring legal fees and expenses in order to defend against the

   Parent’s Complaint, Plaintiff incurred $49,633.87 in expenses related to court reporter and

   transcript fees, which were increased due to Defendants’ refusal to attend the hearing in-

   person. The District was also required to pay $27,093.61 for the IHO’s time spent presiding

   over the Complaint.

                                            COUNT I

      95. Plaintiff incorporates by reference the allegations contained in paragraphs 1-94.

      96. The Board is the prevailing party with regard to the Parent’s Complaint.

      97. Parent’s Complaint was frivolous, unreasonable, or without foundation.

      98. Defendants continued to litigate after the litigation clearly became frivolous,

   unreasonable, or without foundation.

      99. Parent’s Complaint was presented for an improper purpose, which was to harass,

   cause unnecessary delay, or needlessly increase the cost of litigation.

      100.        As a result of Defendants’ conduct, the District incurred legal fees and

   expenses in order to defend against the Parent’s Complaint, plus expenses related to court

   reporter and transcript fees and hearing officer fees.

      101.        As such, the Board is entitled to reasonable attorneys’ fees and costs

   pursuant to 29 U.S.C. § 1415(i)(3)(B)(i)(II) and (III).




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                                       RELIEF SOUGHT

       WHEREFORE, Plaintiff respectfully requests that the Court grant the following relief:

       1. Find that Defendants brought a due process complaint that was frivolous,

   unreasonable and without foundation;

       2. Find that Defendants continued to litigate the claims in their Complaint that were

   frivolous, unreasonable and without foundation;

       3. Find that Defendants’ complaint or subsequent cause of action was presented for

   an improper purpose, namely to harass, cause unnecessary delay, and needlessly increase

   the cost of litigation;

       4. Declare Plaintiff to be the prevailing party in the administrative proceeding held on

   Parent’s Complaint.

       5. Award Plaintiff reasonable attorneys’ fees and costs incurred in defending against

   Parent’s Complaint;

       6. Award Plaintiff the costs related to the court reporter, transcript, and hearing officer

   fees incurred by Plaintiff in the administrative proceedings;

       7. Award Plaintiff’s attorneys’ fees and costs in maintaining this action to recover

   attorneys’ fees and costs;

       8. Order any other relief this Court deems appropriate.




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                                       Respectfully submitted,


                                       /s/ Sandra R. McIntosh
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